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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF OKLAHOMA

BRENT PERKINS and DARLA PERKINS,
husband and wife, and BRENT PERKINS
and DARLA PERKINS as Trustees of the
BRENT W. & DARLA A. PERKINS
LIVING TRUST,

vs. Case No. 16-cv-00171-RAW

CITATION OIL & GAS CORP., a
Delaware corporation,

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Plaintiffs, )
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Defendant.

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

Plaintiffs, Brent Perkins and Darla Perkins, husband and wife, and Brent Perkins
and Darla Perkins as Trustees of the Brent W. & Darla A. Perkins Living Trust, and
Defendant, Citation Oil & Gas Corp., a Delaware corporation, pursuant to Rule
41(a)(1)(ii) of the Federal Rules of Civil Procedure, hereby stipulate and agree to dismiss
with prejudice the above-captioned lawsuit.

Submitted this (> day of March, 2017.

s/ ae sh) Yerres Ls siettcn

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